             Case 1:10-cr-00131-LJO Document 138 Filed 06/25/12 Page 1 of 2



     MONICA A. MIHELL, ESQ. SBN 108829
 1   MIHELL & ASOCIATES
     1541 OCEAN AVENUE
 2
     SUITE 200
     SANTA MONICA, CALIFORNIA 90401
 3
     Telephone 310/424-1415
 4
     Facsimile   310/424-1416

 5   ATTORNEY FOR DEFENDANT,
     DUSTIN YORK
 6

 7

 8
                         IN THE UNITED STATES DISTRICT COURT
 9
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
      UNITED STATES OF AMERICA,                  )   Case No.: 1:10-cr-00131 AWI
12                                               )
                                                 )
13                                               )
                                 Plaintiff,          STIPULATION AND ORDER TO
           vs.                                   )
14                                               )   CONTINUE SENTENCING HEARING
      DUSTIN YORK,                               )
15                                               )
                                  Defendant.         DATE: September 17, 2012
                                                 )
16                                               )   TIME: 10:00 A.M.
                                                 )   JUDGE: Hon. Anthony W. Ishii
17                                               )
                                                 )
18

19

20

21
           IT IS HEREBY STIPULATED by and between the parties hereto through their

22   respective counsel that the sentencing hearing in the above captioned matter now set
23   for June 25, 2012 may be continued to September 17, 2012 at 10:00 am.
24
           This continuance is at the request of counsel for Defendant Dustin York.
25
     ///
26

27   ///

28
                                               Page 1
     ____________________________________________________________________________________
                                             _________
                     Defendant Dustin York’s Stipulation and [Proposed] Order
                                 to Continue Sentencing Hearing
                             Case 1:10-cr-00131-LJO Document 138 Filed 06/25/12 Page 2 of 2



     As this is a sentencing hearing, no exclusion of time is necessary.
 1

 2

 3   DATE: June 20, 2012
 4

 5
                                                   Respectfully submitted,
 6

 7
                                                   MIHELL & ASSOCIATES

 8

 9                                                 By:_/s/ Monica A. Mihell_______________
10
                                                          Monica A. Mihell, Esq.
                                                          Attorney for Defendant, Dustin York
11
     DATE: June 20, 2012
12
                                                   BENJAMIN B. WAGNER
13
                                                   United States Attorney
14

15                                                 By:_/s/ Karen Escobar_______________
                                                          Karen Escobar,
16
                                                          Assistant United States Attorney
17                                                        Attorney for Plaintiff

18

19
                                                       ORDER
20

21

22
     IT IS SO ORDERED.
23
     Dated: June 22, 2012
24                                                 CHIEF UNITED STATES DISTRICT JUDGE
     DEAC_Sign atur e-END:




25
     0m8i788
26

27

28
                                               Page 2
     ____________________________________________________________________________________
                                             _________
                     Defendant Dustin York’s Stipulation and [Proposed] Order
                                 to Continue Sentencing Hearing
